
In re Telephone Servicers; Teleservices Corp.; Mitchell, D.J.; Palmer, Richard D.; *668Robinson, Earl S., Jr.; Simoncioni, Otello M., Jr.; Sorensen, George A., Jr.; Sugar, Max; Tumarkin, Bernard; Tumarkin, Ethel; White, John 0.; — Defendant(s); applying for writ of certiorari and/or review; to the Court of Appeal, Fourth Circuit, Nos. CA91-0691, 91CA-0690; Parish of Orleans, Civil District Court, Div. “C”, No. 89-14563.
Prior report: La.App., 593 So.2d 1364.
Denied.
